 8:07-cr-00054-RFR-MDN             Doc # 25   Filed: 03/27/07    Page 1 of 1 - Page ID # 36




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )               8:07CR54
                      Plaintiff,                   )
                                                   )
       vs.                                         )              ORDER
                                                   )
LUIS HARO-RAMIREZ,                                 )
JOSE LUIS AGUILAR-OCHOA and                        )
RAMON ORDONEZ-LOPEZ,                               )
                                                   )
                      Defendants.                  )
        This matter is before the court on the motions for an extension of time to file pretrial
motions by defendants Luis Haro-Ramirz (Haro-Ramirez) and Ramon Ordonez-Lopez
(Ordonez-Lopez) (Filing Nos. 23 and 24). The defendants seek additional time to file
pretrial motions until April 25, 2007. The motions will be granted. Defendants shall file an
affidavit in accordance with paragraph 10 of the Progression Order (Filing No. 18). Such
affidavits shall be filed within ten days of this order. This extension of the pretrial motion
deadline shall extend to all defendants in this matter.
       IT IS ORDERED:
       1.     Defendants Haro-Ramirez’s and Ordonez-Lopez’s motions for an extension
of time (Filing Nos. 23 and 24) are granted. All defendants are given until on or before
April 25, 2007, in which to file pretrial motions pursuant to the progression order (Filing No.
18). The ends of justice have been served by granting such motions and outweigh the
interests of the public and the defendants in a speedy trial. The additional time arising as
a result of the granting of the motions, i.e., the time between March 27, 2007 and April 25,
2007, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendants’ counsel require additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       2.     The evidentiary hearing tentatively scheduled for 9:00 a.m. on April 4, 2007,
is canceled and will be rescheduled, if necessary, following the filing of any pretrial motions
in accordance with this order.
       DATED this 27th day of March, 2007.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
